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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    Criminal No. 11-305(6)(DSD/LIB)

United States of America,

                  Plaintiff,

v.                                                                 ORDER

Lawrence Lalonde Colton,

                  Defendant.



       This matter is before the court upon the motion by defendant

Lawrence Lalonde Colton to dismiss the indictment with prejudice

based on the Speedy Trial Act pursuant to Zedner v. United States,

547 U.S. 489 (2006).       Based on a review of the file, record and

proceedings herein, the motion is denied.



                                    BACKGROUND

       A grand jury indicted Colton for conspiracy to distribute

oxycodone, oxymorphone and heroin, in violation of 21 U.S.C.

§§   841(a)(1),    841(b)(1)(C)      and   846,    and   aiding      and   abetting

distribution of oxycodone, oxymorphone, hydrocodone and heroin in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and 18 U.S.C.

§ 2.    Colton first appeared in court on September 28, 2011.                     ECF

No. 52.    On November 8, 2011, the court granted Colton’s motion to

extend deadlines to file pretrial motions and excluded the time

under the Speedy Trial Act.             See ECF Nos. 381, 436.               Colton

scheduled a change-of-plea hearing for December 6, 2011.                   See ECF.
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No. 531.   On the day of the hearing, Colton changed his mind, and

the hearing was cancelled.        See ECF No. 549.       Thereafter, Colton

filed pretrial motions, and the court disposed of those motions on

January 12, 2011.

     On February 15, 2012, Colton again scheduled a change-of-plea

hearing for the next day and again changed his mind the day of the

hearing.   The court held a status conference on February 16, 2012.

The United States said that it would seek a superseding indictment.

Colton’s counsel then asked that the March 5, 2012, trial date be

continued for three months to allow preparation of voluminous

discovery,    including   a   large   amount    of    video     data,   computer

downloads and numerous coconspirators and witnesses.                Colton also

acknowledged    his   speedy-trial    rights    and    asked     the    court   to

continue the trial to give his counsel time adequately to prepare.1

The court agreed, and continued the trial to June 18, 2012.                     On

February 22, 2012, the grand jury returned a six-count, superseding

indictment against Colton.

     Thereafter, Colton, via counsel, demanded that his attorney

withdraw from the case. The court granted the motion and appointed

replacement counsel. On June 7, 2012, Colton moved to continue the

trial based on the volume of information and the need to prepare

adequately.    On June 19, 2012, the court held a status conference,


     1
      Colton followed his request with a letter on April 9, 2012,
again requesting exclusion of time until June 18, 2012. ECF No.
746.

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and continued the trial to August 13, 2012, to give replacement

counsel adequate time to prepare for trial given the terabytes of

data and voluminous record.            On August 1, 2012, Colton moved to

dismiss the superseding indictment based on the Speedy Trial Act.



                                   DISCUSSION

      The Speedy Trial Act requires the government to commence trial

of a federal criminal defendant within 70 days after the defendant

is charged or makes an initial appearance. 18 U.S.C. § 3161(c)(1).

The   court   must    dismiss    the   indictment        on    the    motion    of   the

defendant if the defendant is not brought to trial within the

seventy-day period defined by the Act.

      The Act excludes certain periods of delay, including “delay

resulting from any pretrial motion, from the filing of the motion

through   the   conclusion       of    the    hearing      on,   or    other    prompt

disposition of, such motion.”                Id. § 3161(h)(1)(D); see United

States v. Herbst, 666 F.3d 504, 509 (8th Cir. 2012).                           “[D]elay

reasonably attributable to any period, not to exceed thirty days,

during which any proceeding concerning the defendant is actually

under advisement by the court” is also excluded.                          18 U.S.C.

§ 3161(h)(1)(H).

      Time    may    also   be   excluded      for     delay     resulting      from   a

continuance granted “at the request of the defendant or his counsel

... if the judge granted such continuance on the basis of his


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findings that the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a

speedy trial.”      18 U.S.C. § 3161(h)(7)(A).           Such delay is only

excluded when “the court sets forth, in the record of the case,

either orally or in writing,” the reasons for its finding.                       Id.

The court considers several factors when determining whether to

grant a continuance under § 3161(h)(7)(A) including “[w]hether the

case is so unusual or so complex, due to the number of defendants,

the nature of the prosecution, or the existence of novel questions

of   fact   or   law,   that   it   is   unreasonable    to      expect   adequate

preparation ... for the trial itself within the time limits” of the

Act.    Id. § 3161(h)(7)(A).

       In the present case, Colton argues that delay caused by the

continuance of trial from March 5, 2012, until June 18, 2012,

should not be excluded because the court “did not put on the record

the reasons for the finding that the ends of Justice were served by

the continuance.”       Def.’s Mot. 2.       The court disagrees.           At the

February 16, 2012, hearing and status conference, both parties

discussed with the court the large volume of discovery, substantial

electronic and video data, large number of codefendants and the

impending superseding indictment that would add a charge under 21

U.S.C. § 859.     Further, Colton acknowledged his right to a speedy

trial and told the court that he wanted a continuance to adequately

prepare for trial.       The court was familiar with the large volume


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and broad scope of the case as it had overseen many change-of-plea

hearings by codefendants.         Having balanced all of these factors

against the interest of Colton and the public in a speedy trial,

the court granted the continuance.             As a result, the period from

March 5 through June 18, 2012, is properly excluded under the

Speedy Trial Act.

     Moreover, even if the hearing record provides insufficient

detail as to the reasons for the continuance, the Speedy Trial Act

does not require the court to place its ends-of-justice finding on

the record at the same time that it grants a continuance.2                 United

States v. Bloate, 534 F.3d 893, 899 (8th Cir. 2008) (citing Zedner

v. United States, 547 U.S. 489, 506–07 (2006)), rev’d on other

grounds, 130 S. Ct. 1345 (2010); United States v. Stackhouse, 183

F.3d 900, 901 (8th Cir. 1999) (per curiam) (“Contemporaneity is not

required,   however, and    a     subsequent     articulation      suffices.”);

United States v. Clifford, 664 F.2d 1090, 1095 (8th Cir. 1981)

(“While a court generally should make the findings required by

section 3161(h) (8)(A) [now secion 3181(h)(7)(A)] at the time it

grants the continuance, the Speedy Trial Act does not require the

court to make a contemporaneous record.” (citation omitted));

accord United States v. Wasson, 679 F.3d 938, 945–48 (7th Cir.



     2
       The court notes that the best practice “is for a district
court to put its findings on the record at or near the time when it
grants the continuance.” Zedner v. United States, 547 U.S. 489,
507 n.7 (2006).

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2012); States v. Mallory, 461 F. App’x 352, 359–60 (4th Cir. 2012);

United States v. Napadow, 596 F.3d 398, 404–06 (7th Cir. 2010).

      Here, the court stated its findings and reason for granting

the continuance in its order dated August 9, 2012.                      ECF No. 952.

Specifically, the court found that the complexity of the case

required additional time for Colton’s counsel to prepare for trial.

Id.   Therefore, Colton’s argument fails, and the delay resulting

from the continuance of trial from March 5 to June 18, 2012, is

properly excluded.3

      Having determined that the challenged period is properly

excluded, the court considers whether the Speedy Trial Act has been

violated   in     this   case.      Due       to    the    numerous     motions     and

continuances      in   this   multi-defendant           case,    many    overlapping

excludable    periods    apply,     and       the    court   recites        only   those

necessary to determine whether more than seventy non-excludable

days will have passed as of August 13, 2012.

      The seventy-day clock began to run on September 28, 2011, when

Colton first appeared before the court.                   18 U.S.C. § 3161(c)(1).

The following periods of delay are excluded under subsection

(h)(1)(D):      September     28,   2011,      for    a    motion     for    temporary

detention; October 3, 2011, for a motion for detention; October 7



      3
       The same holds true for the continuance from June 18 to
August 13, 2012, granted based on the same findings of complexity
and the need for time adequately to prepare for trial after Colton
demanded for new counsel.

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through October 13, 2011, for a motion to extend the discovery

deadline; and December 20, 2011, through January 5, 2012, for

several motions for discovery.        The period from January 5 through

January 12, 2012, is excluded under subsection (h)(1)(H), because

the court had taken motions were under advisement on January 5 and

disposed of them on January 12.            The periods from October 11

through December 20, 2011, and March 5 through August 13, 2012, are

excluded under subsection (h)(7)(A) based on findings that the ends

of justice served by granting a continuance outweighed the interest

of Colton and the public in a speedy trial.           As a result, at most,

fifty-nine non-excludable days will have elapsed as of August 13,

2012.    Therefore, Colton fails to show a violation of the Speedy

Trial Act.



                                  CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that the

motion to dismiss [ECF No. 886] is denied.


Dated:   August 10, 2012


                                          s/David S. Doty
                                          David S. Doty, Judge
                                          United States District Court




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